Case 3:16-cv-03044-L-KSC Document 5-2 Filed 02/14/17 PageID.122 Page 1 of 3




  1   LEVI & KORSINSKY LLP
      Adam C. McCall (SBN 302130)
  2
      Email: amccall@zlk.com
  3   445 South Figueroa Street, 31st Floor
      Los Angeles, CA 90071
  4
      Tel: (213) 985-7290
  5
  6   -and-

  7   NICHOLAS I. PORRITT (DC:457601; NY)
  8   Email: nporritt@zlk.com
      ADAM M. APTON (DC:1017720; NY)
  9   Email: aapton@zlk.com
 10   1101 30th Street NW, Suite 115
      Washington, DC 20007
 11   Tel: (202) 524-4290
 12   Fax: (202) 333-2121
      (pro hac vice to be submitted)
 13
 14   Attorneys for Movant Natissisa Enterprises Ltd.

 15
                           UNITED STATES DISTRICT COURT
 16
                        SOUTHERN DISTRICT OF CALIFORNIA
 17
      YI FAN CHEN, and FRONTLINE                 No. 3:16-cv-03044-L-MDD
 18   GLOBAL TRADING PTE. LTD.,
 19   Individually and on Behalf of All
      Others Similarly Situated,                 DECLARATION OF ADAM C.
 20                                              MCCALL IN SUPPORT OF
 21                             Plaintiffs,      MOTION OF NATISSISA
                v.                               ENTERPRISES LTD. FOR
 22                                              CONSOLIDATION OF THE
 23   ILLUMINA, INC., FRANCIS A.                 ACTIONS, APPOINTMENT AS
      DESOUZA, and MARC A.                       LEAD PLAINTIFF, AND
 24   STAPLEY,                                   APPROVAL OF SELECTION OF
 25                                              COUNSEL
                                 Defendants.
 26
 27
 28
Case 3:16-cv-03044-L-KSC Document 5-2 Filed 02/14/17 PageID.123 Page 2 of 3




  1   JAMES MCLEOD, Individually and on
      Behalf of All Others Similarly Situated,          No. 3:17-cv-00053-L-MDD
  2
  3                                   Plaintiff,        Date: March 20, 2017
                 vs.
  4                                                     NO ORAL ARGUMENT
  5   ILLUMINA, INC., FRANCIS A.                        PURSUANT TO LOCAL RULES
      DESOUZA, and MARC A. STAPLEY,
  6                                                     Courtroom: 5B (5th Fl. – Schwartz)
  7                                   Defendants.       Judge: M. James Lorenz

  8
  9   I, ADAM C. MCCALL hereby declare that:

 10         1.         I am a member in good standing of the Bar of this Court, and an

 11   associate in the law firm of Levi & Korsinsky, LLP, counsel for proposed Lead

 12   Plaintiff Natissisa Enterprises Ltd. (“Movant”).

 13         2.         I make this Declaration in support of Movant’s Motion for

 14   Consolidation of the Actions, Appointment as Lead Plaintiff, and Approval of

 15   Selection of Counsel. I have personal knowledge of the matters stated herein and,

 16   if called upon, I could and would competently testify thereto.

 17         3.         Attached hereto as Exhibit 1 is a true and correct copy of the

 18   certification signed by Movant.

 19         4.         Attached hereto as Exhibit 2 is a true and correct copy of the loss

 20   chart detailing the losses of Movant.

 21         5.         Attached hereto as Exhibit 3 is a true and correct copy of the press

 22   release announcing the filing of the above-captioned action, which was filed in

 23   this Court on December 16, 2016.

 24         6.         Attached hereto as Exhibit 4 is a true and correct copy of the firm

 25   resume of Levi & Korsinsky, LLP.

 26         I declare under the penalty of perjury and the laws of the state of California

 27   that the foregoing is true to the best of my knowledge.
      DECLARATION OF ADAM C. MCCALL IN SUPPORT OF MOTION OF NATISSISA ENTERPRISES LTD.
 28   FOR CONSOLIDATION OF THE ACTIONS, APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF
                                       SELECTION OF COUNSEL
                       Case Nos. 3:16-cv-03044-L-MDD and 3:17-cv-00053-L-MDD
                                                    2
Case 3:16-cv-03044-L-KSC Document 5-2 Filed 02/14/17 PageID.124 Page 3 of 3




  1
  2   Dated: February 14, 2016                   s/ Adam C. McCall
                                                 ADAM C. MCCALL
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
      DECLARATION OF ADAM C. MCCALL IN SUPPORT OF MOTION OF NATISSISA ENTERPRISES LTD.
 28   FOR CONSOLIDATION OF THE ACTIONS, APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF
                                       SELECTION OF COUNSEL
                       Case Nos. 3:16-cv-03044-L-MDD and 3:17-cv-00053-L-MDD
                                             3
